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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                 MIDLAND/ODESSA DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
v.                                                   §       MO:24-CR-170
                                                     §
MARK CASAVANT                                        §

                 FINDINGS OF FACT AND RECOMMENDATION ON
            FELONY GUILTY PLEA BEFORE THE U.S. MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for
administration of guilty plea and allocution under Rule 11 of the Federal Rules of Criminal
Procedure.

       On March 20, 2025, this cause came before the undersigned U.S. Magistrate Judge for
Guilty Plea and Allocution of the Defendant MARK CASAVANT1 on COUNT ONE of the
INDICTMENT filed herein charging him with a violation of 18 U.S.C. §§ 922(g)(1) and
924(a)(8). The Defendant signed a written consent to plea before the Magistrate Judge. After
conducting said proceeding in the form and manner prescribed by Federal Rule of Criminal
Procedure 11, the Court finds:

       a) that the Defendant, after consultation with counsel of record, has knowingly and
voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a
U.S. Magistrate Judge subject to final approval and imposition of sentence by the District Judge;

        b) that the Defendant pleaded guilty to COUNT ONE of the INDICTMENT without a
written plea agreement. Any oral agreements were stated into the record by the parties; and,

       c) that the Defendant is fully competent and capable of entering an informed plea, 2 that
the Defendant is aware of the nature of the charge and the consequences of the plea,3 and that the
plea of guilty is a knowing and voluntary plea supported by an independent basis in fact
containing each of the essential elements of the offense.

       IT IS THEREFORE the recommendation of the undersigned U.S. Magistrate Judge that
the District Judge accept the guilty plea of the Defendant MARK CASAVANT and that MARK
CASAVANT be finally adjudged guilty of that offense.

1. The Defendant acknowledged that he has been charged under the true and correct name.

2. The Defendant is aware of the “Notice of Government’s Demand for Forfeiture” that is contained in the
Indictment and agreed to forfeit the named property.

3. The Defendant was admonished pursuant to Title 18, to the statutory penalty range of up to fifteen (15) years
imprisonment, a maximum three (3) years supervised release, a fine not to exceed two hundred fifty thousand dollars
($250,000.00), and a one hundred dollar ($100.00) mandatory special assessment. However, if the Court
determines the Defendant has three prior convictions for a violent felony or a serious drug offense, or both,
committed on occasions different from one another, the statutory penalty range shall be at least fifteen (15)
years imprisonment, up to five (5) years supervised release, a fine not to exceed two hundred fifty thousand
dollars ($250,000.00), and a one hundred dollar ($100.00) mandatory special assessment.
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        The United States District Clerk shall serve a copy of this Proposed Findings of Fact and
Recommendation on all parties electronically. In the event that a party has not been served by the
Clerk with this Report and Recommendation electronically, pursuant to the CM/ECF procedures
of this District, the Clerk is ORDERED to mail such party a copy of this Report and
Recommendation by certified mail, return receipt requested. Pursuant to 28 U.S.C. § 636(b)(1),
any party who desires to object to this report must serve and file written objections within
fourteen (14) days after being served with a copy unless the time period is modified by the
District Judge. A party filing objections must specifically identify those findings, conclusions or
recommendation to which objections are being made; the District Judge need not consider
frivolous, conclusive or general objections. Such party shall file the objections with the Clerk of
the Court and serve the objections on the Magistrate Judge and on all other parties. A party’s
failure to file such objections to the proposed findings, conclusions and recommendation
contained in this report shall bar the party from a de novo determination by the District Judge.
Additionally, any failure to file written objections to the proposed findings, conclusions and
recommendation contained in this report within fourteen (14) days after being served with a copy
shall bar the aggrieved party from appealing the factual findings of the Magistrate Judge that are
accepted or adopted by the District Judge, except upon grounds of plain error or manifest
injustice.

       It is so ORDERED.

       SIGNED this 21st day of March, 2025.




                                      RONALD C. GRIFFIN
                                      UNITED STATES MAGISTRATE JUDGE




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